          Case 3:23-cr-00149-MEM Document 45 Filed 08/31/23 Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF PENNS\T-\ANIA


UNITED STATES OF AMERICA

                                                                   cr.iminal Actron No. 23-CR- 149
Alfred & Joseph -\tsus, Damien Boland, Nicholas I)ombel<

DEFENDANT(S)


                    \.rcrlM pLselosIJRE sfArEt4ENI PllBSuANTtIq
                                            Fcd. R. Cr. P. 12.4(a)(2)

         Pursuant to Rule 12.4(a)(2) of the Federal Rules of Criminal Procedure
                                                                         who has been identifred as
an organizational victim in the above-captioned case, makes the foilowing
disclosure:


1.       The victim is a non-governmental corporate entity.




2.       List below any parent corporation or state that there is no such corporation:




ll       List below any publicly-held corporation that owns 10% or more of the
         party's stock or state that there is no such corporation:




       The undersigned understands that under Rule f 2.4(d(2) ofthe Federal Rules
of Criminal Procedure, it must promptly file a supplemental statement upon any
change in the information that this statement requires.



                                                                ))4'^-

Date:       ,lLb u                                          Signature
